    Case: 1:25-cv-00669 Document #: 67 Filed: 05/06/25 Page 1 of 2 PageID #:310




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 AMERICAN ALLIANCE FOR
 EQUAL RIGHTS,
                                          Plaintiff,
 and                                                   Case No. 1:25-cv-669

 UNITED STATES OF AMERICA,                Judge Coleman
                    Plaintiff-Intervenor,
      v.

 KWAME RAOUL, in his official capacity as
 Attorney General of the State of Illinois;
 JAMES BENNETT, in his official capacity as
 Director of the Illinois Department of Human
 Rights; and ALEXI GIANNOULIAS, in his
 official capacity as Secretary of State of the
 State of Illinois.
                                      Defendants.

                                RESPONSE IN OPPOSITION
                         TO DEFENDANTS’ MOTION TO DISMISS
       Illinois’ motion to dismiss the Alliance’s original complaint, see MTD (Doc.56), is moot.

The Alliance amended its complaint, see Am-Compl. (Doc.59), so no “‘live dispute’” over the

original complaint remains. Rodriguez v. Xerox Bus. Servs., LLC, 2016 WL 8674378, at *1 (W.D.

Tex. June 16); accord Ayoubi v. Dart, 2015 WL 1257666, at *1 (N.D. Ill. Mar. 16) (amended

complaint “moots a motion to dismiss a prior complaint”); Daniel v. Cook Cnty., 2014 WL 334635,

at *3 (N.D. Ill. Jan. 29) (same). This Court appears to agree, as it directed Illinois to “respon[d] to

[the Alliance’s] amended complaint.” Doc.60 at 1; accord Doc.66 at 1. And Illinois appears to

agree, as it suggested that it was drafting a new motion to dismiss. Doc.64 at 2 ¶5. But in an

abundance of caution, the Alliance asks this Court to deny Illinois’ motion to dismiss the Alliance’s

original complaint as moot.




                                                   1
    Case: 1:25-cv-00669 Document #: 67 Filed: 05/06/25 Page 2 of 2 PageID #:311




 Dated: May 6, 2025                                Respectfully submitted,

                                                   /s/ Cameron T. Norris
                                                   Thomas R. McCarthy*
                                                   Cameron T. Norris*
                                                   Matt Pociask**
                                                   R. Gabriel Anderson*
                                                   Marie E. Sayer*
                                                   CONSOVOY MCCARTHY PLLC
                                                   1600 Wilson Blvd., Ste. 700
                                                   Arlington, VA 22209
                                                   (703) 243-9423
                                                   tom@consovoymccarthy.com
                                                   cam@consovoymccarthy.com
                                                   matt@consovoymccarthy.com
                                                   gabe@consovoymccarthy.com
                                                   mari@consovoymccarthy.com

                                                   *Admitted pro hac vice
                                                   **Admitted to the Northern District of Illinois

                                                   Counsel for Plaintiff


                               CERTIFICATE OF SERVICE
       I hereby certify on May 6, 2025, a true and correct copy of this document and all related

attachments were served electronically by the Court’s CM/ECF system to all counsel of record.

                                                                           /s/ Cameron T. Norris
                                                                             Counsel for Plaintiff




                                               2
